Case 1:18-cv-05391-SCJ Document 172-6 Filed 12/17/19 Page 1 of 4

EXHIBIT F
Case 1:18-cv-05391-SCJ Document 172-6 Filed 12/17/19 Page 2 of 4

12/16/2019 Gmail - This is personal for me

This is personal for me
1 message
Stacey Abrams <info@fairfightaction.com> Sun, Dec 15, 2019 at 6:05 PM

Reply-To: info@fairfightaction.com
To:

FAIRRAFIGHT

This month, hundreds of thousands of Georgians could be stripped of
their right to vote.

However, this is not the first time - we’re witnessing the latest chapter

in a long history of voter suppression.

My parents were active in the Civil Rights Movement, and my father
got arrested helping people register to vote in Mississippi when he
was just 16 years old. My mom was doing the same work (although
she was smart enough not to get caught).

The same forces that my parents fought against decades ago are still
very much alive and well today.

So heading into 2020 we have some work to do.

This fight takes a movement -- a movement we have to build together.

That's why today | am asking you personally:

https://mail.google.com/mail/u/0?7ik=3b8c749e9e&view=pt&search=all&permthid=thread-f%3A 1653028833689434959&simpl=msg-f%3A 16530288336...

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Case 1:18-cv-05391-SCJ Document 172-6 Filed 12/17/19 Page 3 of 4

Gmail - This is personal for me
Will you chip in to Fair Fight today? We've set a big goal of
raising $2 million before the end of the year. If we can do that, it'll
give us a major head start on the work we want to accomplish in
2020.

Voting rights are the path through which all other change is made
possible. The progress we want to see made real become so because
of voting.

As we head into one of the most important elections of our lifetime, we
have to recognize that we cannot tackle the issues we care about and

create the change we want if the voices of voters are not heard.
Together, we will work to give everyone a Fair Fight.
Yours in the fight,

- Stacey

1270 Caroline Street
Suite D120-311
Atlanta, GA 30307

2/3
Case 1:18-cv-05391-SCJ Document 172-6 Filed 12/17/19 Page 4 of 4

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